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                    Second Street Corporation
                  7
                  8                      UNITED STATES DISTRICT COURT
                  9                     CENTRAL DISTRICT OF CALIFORNIA
                 10
                 11 SECOND STREET CORPORATION,               CASE NO. 2:16-cv-05889
                    a California corporation,
                 12                                          COMPLAINT FOR:
                                 Plaintiff,
                 13                                          (1) EXPRESS WARRANTY;
                           v.                                (2) EXPRESS WARRANTY;
                 14                                          (3) BREACH OF CONTRACT;
                    EXCEPTIONAL INNOVATION, INC.,            (4) BREACH OF CONTRACT;
                 15 an Ohio corporation; LG                  (5) RESTITUTION AFTER
                    ELECTRONICS U.S.A., INC., a                   RESCISSION;
                 16 Delaware corporation; DOES 1-6,          (6) RESTITUTION AFTER
                    inclusive,                                    RESCISSION;
                 17                                          (7) NEGLIGENCE;
                                 Defendants.                 (8) NEGLIGENCE;
                 18                                          (9) VIOLATION OF
                                                                  CALIFORNIA’S UNFAIR
                 19                                               COMPETITION LAW, CAL.
                                                                  BUS. & PROF. CODE §§ 17200
                 20                                               ET SEQ.;
                                                             (10) VIOLATION OF
                 21                                               CALIFORNIA’S UNFAIR
                                                                  COMPETITION LAW, CAL.
                 22                                               BUS. & PROF. CODE §§ 17200
                                                                  ET SEQ.;
                 23                                          (11) NEGLIGENT
                                                                  MISREPRESENTATION;
                 24                                          (12) NEGLIGENT
                                                                  MISREPRESENTATION
                 25
                                                             DEMAND FOR JURY TRIAL
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                  1         Plaintiff Second Street Corporation (“Plaintiff”), by and through its
                  2 undersigned attorneys, makes the following allegations and claims against
                  3 defendants Exceptional Innovation, Inc. (“EI”) and LG Electronics U.S.A., Inc.
                  4 (“LG”) (collectively, “Defendants”), and demands trial by jury of all claims
                  5 properly triable thereby.
                  6
                  7                             PRELIMINARY STATEMENT
                  8         1.    This action is brought by Plaintiff to recover damages and/or seek
                  9 restitution of all amounts paid in connection with the purchase of in-warranty
                 10 televisions and related hardware and services from Defendants for use in Plaintiff’s
                 11 high-end, luxury hotel, the Huntley Hotel.
                 12         2.    From November 2014 through August 2015, Plaintiff purchased from
                 13 LG 162 specialized internet protocol televisions (also known as Smart TVs)
                 14 (“IPTVs”) advertised and sold to Plaintiff as “hospitality” televisions suitable for
                 15 use in guest rooms and other locations in the Huntley Hotel. In September 2014,
                 16 Plaintiff contracted with EI’s predecessor, Quadriga, to provide various content,
                 17 billing services, and related services and hardware for use with LG’s IPTVs in the
                 18 Huntley Hotel.
                 19         3.    Soon after the IPTVs were purchased and installed and Plaintiff began
                 20 using Quadriga’s (later EI’s) services, Plaintiff began receiving numerous
                 21 customer complaints regarding serious problems with the images displayed on the
                 22 televisions. Movies guests had ordered froze, pixelated, or stopped playing.
                 23 Television programs and movies looked pixelated, fuzzy, and blurry. The screen
                 24 went blank, or stuck on one of various menus. Occasionally the entire system
                 25 would reboot without prompting, interrupting guests’ entertainment. In short, the
                 26 television entertainment system was nearly unusable.
                 27         4.    Plaintiff immediately contacted Defendants to request urgent
    Mitchell     28 correction of these serious problems. But to date, despite the fact that Quadriga’s
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                  1 (now EI’s) services and LG’s IPTVs still are in warranty, Defendants have been
                  2 unable or unwilling to fix the problems. Instead, the serious problems with
                  3 Defendants’ products and services continue unabated, and even continue to
                  4 worsen.
                  5         5.     As a result, Plaintiff has been significantly harmed. Plaintiff has paid
                  6 well over $250,000 to LG for IPTVs and at least $40,184.17 to EI/Quadriga for
                  7 head-end hardware and services, which do not function adequately. Plaintiff has
                  8 been forced to refund numerous guest purchases, and has lost significant revenue
                  9 from foregone in-room entertainment purchases by guests who are aware of the
                 10 persistent television system problems and who have decided, therefore, not to order
                 11 in-room entertainment. Moreover, in or around June 2016, Plaintiff was forced to
                 12 completely disable all video-on-demand services at the Huntley Hotel due to
                 13 Defendants’ inability to satisfactorily provide such services. Because of
                 14 Defendants’ failure to solve these and related problems, Plaintiff also was forced to
                 15 hire an independent consultant to attempt to solve the problems, at further
                 16 significant cost to Plaintiff.
                 17         6.     Worst of all, Plaintiff’s reputation has been significantly harmed by
                 18 the repeated issues with its in-room entertainment. Reviews on prominent
                 19 websites such as TripAdvisor.com are littered with complaints and negative
                 20 reviews, detailing serious television problems those guests have encountered.
                 21         7.     In short, the televisions and related hardware and services Plaintiff
                 22 purchased from Defendants have not functioned in the manner and for the purpose
                 23 they were intended, and the Huntley Hotel has been seriously damaged by that
                 24 failure. Defendants must make Plaintiff whole for the serious defects in the
                 25 products and services they have provided.
                 26         8.      Plaintiff is informed and believes, and on that basis alleges, that the
                 27 defects and failures of the Quadriga Services and LG Televisions, as defined and
    Mitchell     28 described herein, are common to multiple purchasers of those products and
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                  1 services, and that Defendants may be subject to class claims arising from those
                  2 products and services.
                  3                             JURISDICTION AND VENUE
                  4         9.     This Court has jurisdiction over all causes of action asserted herein
                  5 pursuant to 28 U.S.C. § 1332(a), on the ground that the matter in controversy
                  6 exceeds the sum or value of $75,000 and is between citizens of different states.
                  7         10.    Venue is proper in the Central District of California pursuant to 28
                  8 U.S.C. § 1391(b)(2), because a substantial part of the events or omissions giving
                  9 rise to Plaintiff’s claims occurred and/or was known or intended by Defendants to
                 10 occur in or have consequences in this District, and a substantial part of the property
                 11 that is the subject of the action is situated in this District.
                 12
                 13                                          PARTIES
                 14         11.    Plaintiff Second Street Corporation is a corporation incorporated in
                 15 the State of California with its principal place of business in Santa Monica,
                 16 California. Plaintiff does business as the Huntley Hotel Santa Monica Beach,
                 17 operating a hotel under the same name (the “Huntley Hotel”).
                 18         12.    Defendant EI is a corporation incorporated in the State of Ohio, with
                 19 its principal place of business in Westerville, Ohio. Plaintiff is informed and
                 20 believes, and on that basis alleges, that, in or around July 2015, EI’s parent
                 21 company purchased Quadriga Worldwide Ltd. and its subsidiaries, including
                 22 Quadriga Americas (“Quadriga”). Plaintiff is informed and believes, and on that
                 23 basis alleges, that EI succeeded to all contracts, obligations, debts, and liabilities of
                 24 Quadriga discussed herein, including the Huntley-Quadriga Agreement and its
                 25 obligation to provide the Quadriga Services, defined and discussed below.
                 26 Plaintiff is informed and believes, and on that basis alleges, that EI does business
                 27 in California but is not registered with the California Secretary of State to conduct
    Mitchell     28 business in California.
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                  1         13.    The true names and capacities, whether individual, corporate,
                  2 associate, or otherwise, of defendants sued herein as Does 1 through 3, inclusive,
                  3 are unknown to Plaintiff, which sues said defendants by such fictitious names (the
                  4 “EI Doe Defendants”). Plaintiff is informed and believes, and on that basis
                  5 alleges, that each EI Doe Defendant participated in some or all of the alleged
                  6 conduct by EI as alleged herein, and is liable to Plaintiff for the damages and other
                  7 relief to which Plaintiff is entitled from EI. If necessary, Plaintiff will seek leave
                  8 to amend this Complaint to state the true names and capacities of the EI Doe
                  9 Defendants. As used herein, the term “EI Defendants” refers, individually and
                 10 collectively, to EI and the EI Doe Defendants.
                 11         14.    Defendant LG is a corporation incorporated in Delaware with its
                 12 principal place of business in New Jersey.
                 13         15.    The true names and capacities, whether individual, corporate,
                 14 associate, or otherwise, of defendants sued herein as Does 4 through 6, inclusive,
                 15 are unknown to Plaintiff, which sues said defendants by such fictitious names (the
                 16 “LG Doe Defendants”). Plaintiff is informed and believes, and on that basis
                 17 alleges, that each LG Doe Defendant participated in some or all of the alleged
                 18 conduct by LG as alleged herein, and is liable to Plaintiff for the damages and
                 19 other relief to which Plaintiff is entitled from LG. If necessary, Plaintiff will seek
                 20 leave to amend this Complaint to state the true names and capacities of the LG Doe
                 21 Defendants. As used herein, the term “LG Defendants” refers, individually and
                 22 collectively, to LG and the LG Doe Defendants.
                 23         16.    As used herein, the term “Defendants” refers, individually and
                 24 collectively, to the EI Defendants and the LG Defendants.
                 25         17.    Plaintiff is informed and believes, and on that basis alleges, that the
                 26 defects and failures of the Quadriga Services and LG Televisions, as defined and
                 27 described herein, are common to multiple purchasers of those products and
    Mitchell     28 services and that the EI Defendants and LG Defendants, respectively, have
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                  1 received multiple complaints from other purchasers and users of those products
                  2 and services regarding the same and/or similar defects and failures described
                  3 herein. Plaintiff reserves the right to amend this Complaint to add class allegations
                  4 and thereafter to seek certification of this action as a class action against some or
                  5 all of Defendants.
                  6
                  7                               STATEMENT OF FACTS
                  8 The Huntley Hotel, In-Room Entertainment, and Interactive Entertainment
                  9 Systems
                 10         18.    Plaintiff owns and operates the Huntley Hotel, a world-class, “four
                 11 star” luxury hotel with approximately 204 rooms, just two blocks from the beach, a
                 12 few blocks north of the Santa Monica Pier. The Penthouse restaurant on the top
                                                   ◦
                 13 floor of the hotel features 360 views and fine dining in a hip setting. The Huntley
                 14 Hotel is advertised as a luxurious and glamorous hotel, with top-shelf amenities,
                 15 and charges rates commensurate with such luxury.
                 16         19.    In order to maintain the Huntley Hotel’s status and profitability, it is
                 17 critical to Plaintiff that in-room amenities be of the highest quality. Customers
                 18 who stay at luxury hotels such as the Huntley Hotel demand the highest quality
                 19 amenities, and any lack of quality has a significant detrimental effect on such
                 20 hotels’ reputation and their ability to attract guests and charge top-shelf rates, and
                 21 thus their profitability.
                 22         20.    In particular, guests at luxury hotels such as the Huntley Hotel
                 23 demand top quality in-room entertainment provided through television screens,
                 24 including cable television channels, premium television channels, on-demand
                 25 movies, video games, and other audiovisual services (collectively, “In-Room
                 26 Entertainment”).
                 27         21.    In-Room Entertainment is provided at most modern hotels, including
    Mitchell     28 the Huntley Hotel, through a combination of IPTVs and various other technologies
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                  1 that provide various types of content, billing services, and other interactive services
                  2 such as “guest portals” or menus for choosing various In-Room Entertainment
                  3 options (collectively, the “Interactive Entertainment System(s)”).
                  4         22.   Various elements of Interactive Entertainment Systems at luxury
                  5 hotels such as the Huntley Hotel are provided by different vendors. For example,
                  6 one vendor may provide IPTVs, another vendor may provide certain content, while
                  7 another vendor may provide billing and other interactive services.
                  8
                  9 The LG Defendants Provide IPTVs, Encryption/Decryption Services, and Set-
                 10 Top Boxes to Plaintiff
                 11         23.   In or around July 2014, Plaintiff’s representative contacted a
                 12 representative of LG to inquire about purchasing IPTVs for use as part of the
                 13 Huntley Hotel’s in-room Interactive Entertainment System. Plaintiff’s
                 14 representative informed LG’s representative, including in writing, of the purpose
                 15 of the purchase and the intended use of LG’s IPTVs.
                 16         24.   As part of the parties’ discussions, Plaintiff relied on the LG
                 17 Defendants’ skill and judgment to ensure that the IPTVs to be purchased were
                 18 suitable for use as part of the Interactive Entertainment System for In-Room
                 19 Entertainment at the Huntley Hotel.
                 20         25.   Plaintiff and LG ultimately reached an agreement for Plaintiff to
                 21 purchase from LG model 60LY970H IPTVs (the “LG Televisions”) for use as part
                 22 of the Interactive Entertainment System for In-Room Entertainment for the
                 23 Huntley Hotel. Plaintiff and LG agreed that their agreement would be
                 24 consummated through the issuance of various purchase orders by Plaintiff, for the
                 25 purchase of the LG Televisions at the agreed-upon price. (The agreement
                 26 described in this paragraph between Plaintiff and LG is referred to herein as the
                 27 “Huntley-LG Agreement”).
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                  1         26.   The LG Televisions are advertised as containing “integrated
                  2 Pro:Idiom” technology (the “Integrated Pro:Idiom Technology”). Pro:Idiom is a
                  3 trademarked encryption and decryption technology developed by LG for use in the
                  4 hospitality industry for the secure delivery of high-definition digital In-Room
                  5 Entertainment. Because the high-definition In-Room Entertainment content used
                  6 in most modern hotels, including the Huntley Hotel, is 100% digital, that digital
                  7 content is easily pirated if the signal is not encrypted. To attempt to prevent such
                  8 piracy, many content providers require hotels and other hospitality providers to
                  9 encrypt – and subsequently decrypt before or as part of playback – the In-Room
                 10 Entertainment delivered to their Interactive Entertainment Systems.
                 11         27.   The Integrated Pro:Idiom Technology is “integrated” in the LG
                 12 Televisions in that, unlike other encryption/decryption systems, no external device
                 13 is necessary to decrypt In-Room Entertainment content coming into the LG
                 14 Televisions. Instead, the Integrated Pro:Idiom Technology is contained within the
                 15 LG Televisions themselves.
                 16         28.   As part of the discussions between Plaintiff and the LG Defendants
                 17 regarding the potential purchase of the LG Televisions, Plaintiff relied on the LG
                 18 Defendants’ skill and judgment to ensure that the Integrated Pro:Idiom Technology
                 19 contained within LG Televisions was an appropriate and compatible encryption
                 20 and decryption technology for use as part of Plaintiff’s Interactive Entertainment
                 21 System.
                 22         29.   As used hereinafter, the term “LG Televisions” refers collectively to
                 23 the IPTVs purchased by Plaintiff, together with the Integrated Pro:Idiom
                 24 Technology contained therein.
                 25         30.   During the parties’ negotiation and in connection with Plaintiff’s
                 26 purchase of the LG Televisions, the LG Defendants provided to Plaintiff certain
                 27 written materials, which contained express warranties regarding the LG
    Mitchell     28 Televisions. These materials warranted, inter alia, that the LG Televisions were
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                  1 suitable for use as part of hotels’ Interactive Entertainment Systems, that the LG
                  2 Televisions produced sufficient image quality, that the LG Televisions were
                  3 compatible with the Quadriga Services (as defined below), and that the LG
                  4 Televisions would function without material defect during the three-year warranty
                  5 period (collectively, the “LG Warranty”). These statements of fact and promises
                  6 formed part of the basis of the bargain of Plaintiff’s agreement, in the Huntley-LG
                  7 Agreement, to purchase the LG Televisions. The materials containing the LG
                  8 Warranty are attached hereto as Exhibit A.
                  9         31.   Pursuant to the Huntley-LG Agreement, Plaintiff issued a total of four
                 10 purchase orders to the LG Defendants, from November 2014 to April 2015, for the
                 11 purchase of 146 total LG Televisions. LG issued invoices to Plaintiff for each of
                 12 these purchase orders, each of which Plaintiff paid, and the LG Defendants
                 13 distributed the LG Televisions to Plaintiff.
                 14         32.   In July and August 2015, pursuant to the Huntley-LG Agreement,
                 15 Plaintiff issued three more purchase orders to the LG Defendants, for the purchase
                 16 of 16 total additional LG Televisions. LG again issued invoices to Plaintiff for
                 17 each of these purchase orders, each of which Plaintiff paid, and the LG Defendants
                 18 distributed the LG Televisions to Plaintiff.
                 19         33.   In April 2016, Plaintiff also purchased one model 55UX970H
                 20 television – the 55" version of the same model line as the 60LY970H – from LG.
                 21 (That television is included in the definition of “LG Televisions” herein.)
                 22         34.   Each of the invoices issued by LG for the purchase of the LG
                 23 Televisions described the televisions as “Commercial(Hotel)_LED LCD TV[s]”.
                 24         35.   Plaintiff paid a total of $244,963.46 for the LG Televisions.
                 25         36.   In January and May 2015, Plaintiff also purchased from LG 67 units
                 26 referred to as set-top boxes (the “Set-Top Boxes”), which were to function
                 27 temporarily as part of Plaintiff’s Interactive Entertainment System, with LG
    Mitchell     28 televisions previously purchased by Plaintiff, while other elements of the
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                  1 Interactive Entertainment System were being upgraded. Plaintiff paid $9,290.63 to
                  2 LG for the Set-Top Boxes.
                  3
                  4 The EI Defendants Provide the Quadriga Services to Plaintiff
                  5         37.   In or around June 2014, a representative of Quadriga contacted
                  6 Plaintiff’s representative to inquire about Quadriga providing certain elements of
                  7 Plaintiff’s Interactive Entertainment System for the Huntley Hotel, including all
                  8 In-Room Entertainment content, billing services, and other interactive services
                  9 such as “guest portals” or menus, and related equipment for the delivery thereof,
                                                       TM
                 10 referred to by Quadriga as a Sensiq System (collectively, the “Quadriga
                 11 Services”).
                 12         38.   Plaintiff’s representative informed Quadriga’s representative,
                 13 including in writing, of the purpose of the purchase and the intended use of the
                 14 Quadriga Services. As part of the parties’ discussions, Plaintiff relied on the EI
                 15 Defendants’ skill and judgment to ensure that the particular services to be included
                 16 in the Quadriga Services were suitable for use as part of the Interactive
                 17 Entertainment System for In-Room Entertainment at the Huntley Hotel.
                 18         39.   Plaintiff and Quadriga ultimately entered into a written agreement for
                 19 Plaintiff to purchase Quadriga Services from Quadriga for use as part of the
                 20 Interactive Entertainment System for In-Room Entertainment at the Huntley Hotel.
                 21 Plaintiff and Quadriga agreed to pay $38,924 to Quadriga, in two installments, as
                 22 well as $2 per room per month, as long as Plaintiff continued to use the Quadriga
                 23 Services, and 60% of all amounts received by Plaintiff for video-on-demand
                 24 services. (The agreement described in this paragraph between Plaintiff and
                 25 Quadriga is referred to herein as the “Huntley-Quadriga Agreement”). Plaintiff
                 26 paid the first $19,462 installment to Quadriga, but has not paid the second
                 27 installment, based on the TV System Failures described herein.
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                  1         40.   The Huntley-Quadriga Agreement contained certain express
                  2 warranties regarding the Quadriga Services. Quadriga fully warranted all
                  3 equipment components provided as part of the Quadriga Services for the full five-
                  4 year initial term of the Huntley-Quadriga Agreement. Quadriga warranted that all
                  5 faulty or failed equipment components would be repaired or replaced at no charge
                  6 to Plaintiff, including shipping, during the five-year Quadriga Warranty period.
                  7 Quadriga also fully warranted its labor during the five-year initial term of the
                  8 Huntley-Quadriga Agreement, and all renewal terms thereof. Quadriga further
                  9 agreed and represented that it would “maintain a signal of a quality generally
                 10 accepted in the hospitality industry” for the Quadriga Services and that it would
                 11 provide 24-hours per day, 365 days per year “proactive remote monitoring” of the
                 12 Quadriga Services and would “use all reasonable endeavors to resolve problems
                 13 identified by such monitoring.” The foregoing warranties described in this
                 14 paragraph are referred to herein collectively as the “Quadriga Warranty.” These
                 15 statements of fact and promises formed part of the basis of the bargain of
                 16 Plaintiff’s agreement, in the Huntley-Quadriga Agreement, to pay for use of the
                 17 Quadriga Services.
                 18         41.   To date, Plaintiff has paid a total of at least $40,184.17 for the
                 19 Quadriga Services.
                 20
                 21 Plaintiff’s Interactive Entertainment System Fails to Operate Sufficiently
                 22         42.   Soon after Plaintiff first purchased and installed the Quadriga Services
                 23 and LG Televisions, Plaintiff began receiving repeated complaints from Huntley
                 24 Hotel customers regarding the unacceptably poor quality of the In-Room
                 25 Entertainment displayed on Plaintiff’s Interactive Entertainment System. These
                 26 complaints continue to the date of the filing of this complaint.
                 27         43.   Just in the nine months prior to filing this action (which omits prior
    Mitchell     28 customer complaints), Plaintiff has logged well over 400 guest complaints, from
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                  1 numerous different rooms, describing various problems with the In-Room
                  2 Entertainment displayed on Plaintiff’s Interactive Entertainment System, including
                  3 but not limited to the following:
                  4               •      “Pixelation” of the images displayed, in which the image is
                  5                      distorted and individual pixels on the display freeze, change
                  6                      color, and/or distort, such that the smooth flow of the displayed
                  7                      images is disrupted;
                  8               •      “Blurry” or “fuzzy” images;
                  9               •      Frozen or “stuck” images;
                 10               •      Television channels “scattering”;
                 11               •      Television stuck on language channel;
                 12               •      Display of only black images;
                 13               •      “Rebooting” (i.e., resetting) of the Interactive Entertainment
                 14                      System, whereby the content being displayed stops, the screen
                 15                      goes blank, the LG logo then appears, and the Interactive
                 16                      Entertainment System resets itself (like a computer rebooting).
                 17         44.   As a result of the foregoing problems, and to attempt to remedy the
                 18 same, Plaintiff repeatedly has been forced to manually reboot (i.e., reset) the
                 19 Interactive Entertainment System, causing further disruption in the playback of In-
                 20 Room Entertainment content to customers.
                 21         45.   As a result of the foregoing problems, Plaintiff has experimented with
                 22 disabling the Quadriga Services and resetting the LG Televisions to factory default
                 23 settings to display only free-to-guest channels. This has resulted in the Interactive
                 24 Entertainment System continually rebooting.
                 25         46.   As described in further detail below, customers of the Huntley Hotel
                 26 also began posting negative reviews and comments on prominent review websites
                 27 such as TripAdvisor.com and Yelp.com, noting the various failures and issues they
    Mitchell     28 experienced with the hotel’s Interactive Entertainment System.
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                  1        47.    Plaintiff promptly investigated the customers’ complaints. Plaintiff
                  2 discovered that, as stated in customers’ complaints, the In-Room Entertainment
                  3 displayed on the Interactive Entertainment System in the rooms Plaintiff tested
                  4 suffered from pixelation. The following are three screen-shots from videos taken
                  5 by Plaintiff’s representative of In-Room Entertainment displayed on the Interactive
                  6 Entertainment System in one room at the Huntley Hotel, demonstrating such
                  7 pixelation:
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                 11         48.   Plaintiff also discovered that, as stated in customers’ complaints, the
                 12 In-Room Entertainment displayed on the Interactive Entertainment System in the
                 13 rooms Plaintiff tested suffered from repeated freezing and rebooting. The
                 14 following are screen-shots from a video taken by Plaintiff’s representative of In-
                 15 Room Entertainment displayed on the Interactive Entertainment System in one
                 16 room at the Huntley Hotel, demonstrating such involuntary resetting:
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                 27                                                         Fig. 1 – Video displayed
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                                                              Fig. 2 – Next Frame: black screen
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                 26                                  Fig. 3 – Next Frame: LG logo for rebooting
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                                                           Fig. 5 – Next Frame: black screen again
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                 13                                  Fig. 6 – Next Frame: LG logo for another rebooting
                 14
                 15         49.   Plaintiff also discovered that, as stated in customers’ complaints, the
                 16 In-Room Entertainment displayed on the Interactive Entertainment System in the
                 17 rooms Plaintiff tested suffered from “freezing,” where images on the screen would
                 18 cease moving temporarily.
                 19         50.   The problems described in the customer complaints regarding
                 20 Plaintiff’s Interactive Entertainment System and the issues discovered by Plaintiff,
                 21 as discussed in paragraphs 42 through 49 above, are referred to herein, individually
                 22 and collectively, as the “TV System Failures.”
                 23         51.   The TV System Failures have occurred (and continue to occur) on
                 24 both the LG Televisions purchased pursuant to the Huntley-LG Agreement and on
                 25 older LG televisions previously purchased by Plaintiff, on which the Set-Top
                 26 Boxes are being used. Quadriga Services are provided for both the newly-
                 27 purchased LG Televisions and the older televisions with which the Set-Top Boxes
    Mitchell     28 are being used.
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                  1         52.   Promptly upon learning of the TV System Failures, Plaintiff informed
                  2 Defendants regarding the TV System Failures. Plaintiff requested that Defendants
                  3 remedy the TV System Failures. However, the TV System Failures have not been
                  4 resolved, and in fact have escalated. Currently, the Interactive Entertainment
                  5 System in virtually every room at the Huntley Hotel is experiencing frequent and
                  6 repeated TV System Failures of various kinds.
                  7         53.   To date, neither Plaintiff nor any Defendant has been able to confirm
                  8 the source of the TV System Failures. However, Plaintiff has confirmed that the
                  9 content feed into Plaintiff’s property, when tested without the Quadriga Services or
                 10 the LG Televisions, is not experiencing TV System Failures. Therefore, Plaintiff is
                 11 informed and believes, and on that basis alleges, that the TV System Failures have
                 12 been proximately caused by the LG Defendants (i.e., by the LG Televisions) and
                 13 by the EI Defendants (i.e., by the Quadriga Services), as described herein.
                 14         54.   Plaintiff is informed and believes, and on that basis alleges, that other
                 15 purchasers of the Quadriga Services and of the LG Televisions, including those
                 16 with Integrated Pro:Idiom Technology, have experienced similar TV System
                 17 Failures as a proximate result of the Quadriga Services and the LG Televisions,
                 18 and that the EI Defendants and LG Defendants, respectively, have received
                 19 multiple complaints from other purchasers and users of those products regarding
                 20 the same and/or similar defects and TV System Failures described herein.
                 21         55.   In addition, to date the EI Defendants have failed to deliver all of the
                 22 Quadriga Services promised in the Huntley-Quadriga Agreement, including, but
                 23 not limited to, express checkout, in-room bill viewing, mobile application, Internet
                 24 on TV, and world radio features.
                 25
                 26 Plaintiff’s Damages
                 27         56.   Plaintiff paid $244,963.46 to LG for 163 LG Televisions. Plaintiff
    Mitchell     28 paid $9,290.63 to LG for 67 Set-Top Boxes. Because of the TV System Failures
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                  1 described herein, and because the LG Televisions are not suitable for the purpose
                  2 for which they were purchased, the actual value of the LG Televisions and the Set-
                  3 Top Boxes is zero. Thus, as a proximate result of the TV System Failures alleged
                  4 herein, Plaintiff has been damaged in the full amount of $254,254.09 paid to LG
                  5 for the LG Televisions and Set-Top Boxes.
                  6         57.   Plaintiff paid a lump sum of $19,462, as well as monthly payments of
                  7 $2 per room and various payments for in-room video-on-demand entertainment
                  8 ordered by customers, to Quadriga/EI for the Quadriga Services. Because of the
                  9 TV System Failures described herein, and because the Quadriga Services are not
                 10 suitable for the purpose for which they were purchased, the actual value of the
                 11 Quadriga Services is zero. Thus, as a proximate result of the TV System Failures
                 12 alleged herein, Plaintiff has been damaged in the amount of at least $40,184.17 it
                 13 has paid for the Quadriga Services.
                 14         58.   As a proximate result of the TV System Failures alleged herein,
                 15 Plaintiff has been forced to give refunds to customers at the Huntley Hotel in an
                 16 amount to be proven at trial, but believed to be no less than $15,469.20.
                 17         59.   As a proximate result of the TV System Failures alleged herein,
                 18 customers of the Huntley Hotel have refrained from purchasing In-Room
                 19 Entertainment from Plaintiff, both because such customers personally have
                 20 experienced past TV System Failures and because such customers have been
                 21 informed of TV System Failures experienced by other customers. In or around
                 22 June 2016, Plaintiff was forced to completely disable all video-on-demand services
                 23 at the Huntley Hotel due to Defendants’ inability to satisfactorily provide such
                 24 services. Plaintiff receives approximately forty percent (40%) of the revenue from
                 25 each purchase of video-on-demand services at the Huntley Hotel. Thus, Plaintiff
                 26 has been damaged by the loss of purchases of video-on-demand services by
                 27 Huntley Hotel customers, in an amount to be determined at trial.
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                  1         60.   As a proximate result of the TV System Failures alleged herein,
                  2 Plaintiff has suffered a loss of reputation. For example, since the beginning of
                  3 2015, after Plaintiff purchased and began installing the Quadriga Services and the
                  4 LG Televisions, customers have left the following reviews on the prominent
                  5 review website TripAdvisor.com:
                  6         •     “The TV service is about the worst I’ve ever had in a hotel, here or
                  7               abroad.”
                  8         •     “TV reception is terrible, so come here thinking you will not watch
                  9               any TV.”
                 10         •     “The TV would lose reception with the image pixellating for minutes
                 11               at a time making watching TV a frustrating exercise.”
                 12         •     “[T]he TV had a poor connection only to get a picture every few
                 13               minutes.”
                 14         •     “[T]he tv is modern but the signal goes out” (translated from Spanish).
                 15         •     “We tried to put on our TV and it wasn’t working.”
                 16         •     “The TV didn’t work, apparently they just installed a new system, but
                 17               … the screen reminded me of the very first color TVs that came ou[t]
                 18               a long time ago, blurry with off colors etc.”
                 19 Similarly, recent reviews on the website Yelp.com state:
                 20         •     “[TV] stopped working[.]”
                 21         •     “The cable/dish service went out a couple times and we had to call the
                 22               front desk to have them reboot the system.”
                 23         61.   These reviews, and other similar reviews on these and other websites
                 24 and in other media, as well as negative word of mouth, have caused Plaintiff to
                 25 lose customers, and have otherwise harmed Plaintiff in an amount to be determined
                 26 at trial.
                 27         62.   Because Defendants were unwilling and/or unable to remedy the TV
    Mitchell     28 System Failures, and as a proximate result thereof, Plaintiff was forced to hire an
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                  1 independent consultant specializing in Interactive Entertainment Systems (the
                  2 “Consultant”) to troubleshoot and attempt to fix the TV System Failures. Plaintiff
                  3 has paid its Consultant at least $39,150.00, which constitutes additional damages
                  4 proximately caused by Defendants.
                  5         63.     Plaintiff is informed and believes, and on that basis alleges, that
                  6 Plaintiff’s damages, as described herein, far exceed the minimum jurisdiction of
                  7 this Court.
                  8
                  9                              FIRST CAUSE OF ACTION
                 10               (Breach of Express Warranty – Against the EI Defendants)
                 11         64.     Plaintiff incorporates the allegations of paragraphs 1-63 above.
                 12         65.     The EI Defendants made statements of fact and promises, received by
                 13 Plaintiff, that the Quadriga Services were suitable for use as part of the Interactive
                 14 Entertainment System in Plaintiff’s hotel, that the Quadriga Services were of
                 15 sufficient quality, that the Quadriga Services were compatible with the LG
                 16 Televisions, and that the Quadriga Services would function without material defect
                 17 for five years after installation. These statements of fact and promises formed part
                 18 of the basis of the bargain of Plaintiff’s agreement to purchase the Quadriga
                 19 Services.
                 20         66.     The Quadriga Services did not perform as promised and did not meet
                 21 the quality of the EI Defendants’ statements. Within the five-year Quadriga
                 22 Warranty period, the Quadriga Services have experienced material defects, which
                 23 the EI Defendants have failed to resolve.
                 24         67.     Plaintiff took reasonable steps to notify the EI Defendants within a
                 25 reasonable time after discovering the defects in the Quadriga Services that the
                 26 Quadriga Services were not as represented, did not perform as promised, and
                 27 experienced material defects. Plaintiff is informed and believes, and on that basis
    Mitchell     28 alleges, that the EI Defendants received such notices.
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                  1         68.     Plaintiff was harmed by the failure of the Quadriga Services to
                  2 perform as promised, their failure to meet the quality of the EI Defendants’
                  3 representations, and their material defects, in the manner described herein.
                  4         69.     The failure of the Quadriga Services to perform as promised, their
                  5 failure to meet the quality of the EI Defendants’ representations, and their material
                  6 defects were substantial factors in causing Plaintiff’s harm.
                  7         70.     The Quadriga Services cannot, after a reasonable number of attempts
                  8 at repair, be repaired to make them as warranted by the EI Defendants.
                  9 Accordingly, Plaintiff is entitled to restitution or replacement of the Quadriga
                 10 Services at its election.
                 11
                 12                             SECOND CAUSE OF ACTION
                 13               (Breach of Express Warranty – Against the LG Defendants)
                 14         71.     Plaintiff incorporates the allegations of paragraphs 1-63 above.
                 15         72.     The LG Defendants made statements of fact and promises, received
                 16 by Plaintiff, that the LG Televisions were suitable for use as hotel televisions, that
                 17 the LG Televisions were of sufficient quality, that the LG Televisions are
                 18 compatible with Quadriga Services, and that the LG Televisions would function
                 19 without material defect during their three-year LG Warranty period. These
                 20 statements of fact and promises formed part of the basis of the bargain of
                 21 Plaintiff’s agreement to purchase the LG Televisions.
                 22         73.     The LG Televisions did not perform as promised and did not meet the
                 23 quality of the LG Defendants’ statements. Within the three-year Warranty Period,
                 24 the LG Televisions have experienced material defects, which the LG Defendants
                 25 have failed to resolve.
                 26         74.     Plaintiff took reasonable steps to notify the LG Defendants within a
                 27 reasonable time after discovering the defects in the LG Televisions that the LG
    Mitchell     28 Televisions were not as represented, did not perform as promised, and experienced
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                  1 material defects. Plaintiff is informed and believes, and on that basis alleges, that
                  2 the LG Defendants received such notices.
                  3         75.   Plaintiff was harmed by the failure of the LG Televisions to perform
                  4 as promised, their failure to meet the quality of the LG Defendants’
                  5 representations, and their material defects, in the manner described herein.
                  6         76.   The failure of the LG Televisions to perform as promised, their failure
                  7 to meet the quality of the LG Defendants’ representations, and their material
                  8 defects were substantial factors in causing Plaintiff’s harm.
                  9         77.   The LG Televisions cannot, after a reasonable number of attempts at
                 10 repair, be repaired to make them as warranted by the LG Defendants.
                 11 Accordingly, Plaintiff is entitled to restitution or replacement of the LG
                 12 Televisions at its election.
                 13
                 14                            THIRD CAUSE OF ACTION
                 15                 (Breach Of Contract – Against The EI Defendants)
                 16         78.   Plaintiff incorporates the allegations of paragraphs 1-63 above.
                 17         79.   Plaintiff and the EI Defendants entered into the Huntley-Quadriga
                 18 Agreement for the purchase by Plaintiff of the Quadriga Services. The Quadriga
                 19 Warranty was a material term of the Huntley-Quadriga Agreement.
                 20         80.   Plaintiff duly performed all conditions, covenants, and promises on its
                 21 part to be performed under the Huntley-Quadriga Agreement, except as excused or
                 22 rendered impossible by the EI Defendants’ acts and omissions as alleged herein.
                 23         81.   The EI Defendants breached their contractual obligations to Plaintiff
                 24 under the Huntley-Quadriga Agreement by failing to adequately repair the
                 25 Quadriga Services to fully functioning working order within the five-year
                 26 Quadriga Warranty period, by failing to maintain a signal of a quality generally
                 27 accepted in the hospitality industry for the Quadriga Services, by failing to provide
    Mitchell     28 24 hours per day, 365 days per year proactive remote monitoring of the Quadriga
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                  1 Services, and by failing to use all reasonable endeavors to resolve all problems
                  2 identified by such monitoring.
                  3         82.   The EI Defendants also breached their contractual obligations to
                  4 Plaintiff under the Huntley-Quadriga Agreement by failing to deliver all of the
                  5 Quadriga Services promised in the Huntley-Quadriga Agreement, including, but
                  6 not limited to, express checkout, in-room bill viewing, mobile application, Internet
                  7 on TV, and world radio features.
                  8         83.   As a direct and proximate result of the foregoing acts and omissions
                  9 of the EI Defendants, and by reason of their breaches of their warranty obligations
                 10 under the Huntley-Quadriga Agreement, Plaintiff has sustained damages, in the
                 11 manner described herein and in an amount to be ascertained at trial.
                 12
                 13                          FOURTH CAUSE OF ACTION
                 14                (Breach Of Contract – Against The LG Defendants)
                 15         84.   Plaintiff incorporates the allegations of paragraphs 1-63 above.
                 16         85.   Plaintiff and the LG Defendants entered into the Huntley-LG
                 17 Agreement for the purchase by Plaintiff of the LG Televisions and Set-Top Boxes.
                 18 The LG Warranty was a material term of the Huntley-LG Agreement.
                 19         86.   Plaintiff duly performed all conditions, covenants, and promises on its
                 20 part to be performed under the Huntley-LG Agreement, except as excused or
                 21 rendered impossible by the LG Defendants’ acts and omissions as alleged herein.
                 22         87.   The LG Defendants breached their contractual obligations to Plaintiff
                 23 under the Huntley-LG Agreement by failing to adequately repair the LG
                 24 Televisions to fully functioning working order within the three-year LG Warranty
                 25 period, by failing to provide IPTVs and Set-Top Boxes that are suitable for use as
                 26 part of Plaintiff’s Interactive Entertainment System, by failing to provide IPTVs
                 27 and Set-Top Boxes that produce sufficient image quality, by failing to provide
    Mitchell     28 IPTVs and Set-Top Boxes that are compatible with the Quadriga Services, and by
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                  1 failing to provide IPTVs and Set-Top Boxes that function without material defect
                  2 during the three-year warranty period.
                  3         88.    As a direct and proximate result of the foregoing acts and omissions
                  4 of the LG Defendants, and by reason of their breaches of their warranty obligations
                  5 under the Huntley-LG Agreement, Plaintiff has sustained damages, in the manner
                  6 described herein and in an amount to be ascertained at trial.
                  7
                  8                             FIFTH CAUSE OF ACTION
                  9               (Restitution After Rescission – Against the EI Defendants)
                 10         89.    Plaintiff incorporates the allegations of paragraphs 1-63 above.
                 11         90.    Plaintiff and the EI Defendants entered into the Huntley-Quadriga
                 12 Agreement for the purchase by Plaintiff of the Quadriga Services.
                 13         91.    Plaintiff duly performed all conditions, covenants, and promises on its
                 14 part to be performed under the Huntley-Quadriga Agreement, except as excused or
                 15 rendered impossible by the EI Defendants’ acts and omissions as alleged herein.
                 16         92.    Plaintiff paid at least $40,184.17 to the EI Defendants under the
                 17 Huntley-Quadriga Agreement, in consideration for Quadriga Services that were
                 18 suitable for use with the LG Televisions as part of the Interactive Entertainment
                 19 System at the Huntley Hotel, that were of sufficient quality, that were compatible
                 20 with the LG Televisions, and that would function without material defect during
                 21 the five-year Quadriga Warranty period.
                 22         93.    Because the Quadriga Services were not suitable for use with the LG
                 23 Televisions as part of the Interactive Entertainment System at the Huntley Hotel,
                 24 were not of sufficient quality, were not compatible with the LG Televisions, and
                 25 did not function without material defect during the five-year Quadriga Warranty
                 26 period, there was a material failure of consideration for the Huntley-Quadriga
                 27 Agreement.
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                  1         94.     Plaintiff, at its election, may elect to rescind the Huntley-Quadriga
                  2 Agreement and obtain restitution of all amounts paid to the EI Defendants under
                  3 the Huntley-Quadriga Agreement. In return, Plaintiff will return all consideration
                  4 it received under the Huntley-Quadriga Agreement, including all physical
                  5 components of the Quadriga Services.
                  6
                  7                              SIXTH CAUSE OF ACTION
                  8               (Restitution After Rescission – Against the LG Defendants)
                  9         95.     Plaintiff incorporates the allegations of paragraphs 1-63 above.
                 10         96.     Plaintiff and the LG Defendants entered into the Huntley-LG
                 11 Agreement for the purchase by Plaintiff of the LG Televisions.
                 12         97.     Plaintiff duly performed all conditions, covenants, and promises on its
                 13 part to be performed under the Huntley-LG Agreement, except as excused or
                 14 rendered impossible by the LG Defendants’ acts and omissions as alleged herein.
                 15         98.     Plaintiff paid at least $254,254.09 to the LG Defendants under the
                 16 Huntley-LG Agreement, in consideration for 163 LG Televisions and 63 Set-Top
                 17 Boxes that were suitable for use as part of the Interactive Entertainment System for
                 18 In-Room Entertainment at the Huntley Hotel, that were of sufficient quality, that
                 19 were compatible with the Quadriga Services, and that would function without
                 20 material defect during the three-year LG Warranty period.
                 21         99.     Because the LG Televisions and Set-Top Boxes were not suitable for
                 22 use as part of the Interactive Entertainment System for In-Room Entertainment at
                 23 the Huntley Hotel, were not of sufficient quality, were not compatible with the
                 24 Quadriga Services, and did not function without material defect during the three-
                 25 year LG Warranty period, there was a material failure of consideration for the
                 26 Huntley-LG Agreement.
                 27         100. Plaintiff, at its election, may elect to rescind the Huntley-LG
    Mitchell     28 Agreement and obtain restitution of all amounts paid to the LG Defendants under
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                  1 the Huntley-LG Agreement. In return, Plaintiff will return all consideration it
                  2 received under the Huntley-LG Agreement, including all of the LG Televisions
                  3 and the Set-Top Boxes.
                  4                           SEVENTH CAUSE OF ACTION
                  5                       (Negligence – Against the EI Defendants)
                  6         101. Plaintiff incorporates the allegations of paragraphs 1-63 above.
                  7         102. The EI Defendants designed, manufactured, and supplied to Plaintiff
                  8 the Quadriga Services.
                  9         103. In designing, manufacturing, and supplying to Plaintiff the Quadriga
                 10 Services, the EI Defendants failed to use the amount of care that a reasonably
                 11 careful designer, manufacturer, and supplier would use in similar circumstances to
                 12 avoid exposing others to a foreseeable risk of damages from the deficient Quadriga
                 13 Services. Plaintiff is informed and believes, and on that basis alleges, that the EI
                 14 Defendants knew or should have known about the likelihood and severity of
                 15 potential damages Plaintiff would suffer from the deficient Quadriga Services.
                 16         104. Plaintiff has been damaged, in the manner described herein and in an
                 17 amount to be proven at trial. The EI Defendants’ negligence was a substantial
                 18 factor in causing and contributed substantially to Plaintiff’s damages.
                 19
                 20                           EIGHTH CAUSE OF ACTION
                 21                      (Negligence – Against the LG Defendants)
                 22         105. Plaintiff incorporates the allegations of paragraphs 1-63 above.
                 23         106. The LG Defendants designed, manufactured, and supplied to Plaintiff
                 24 the LG Televisions.
                 25         107. In designing, manufacturing, and supplying to Plaintiff the LG
                 26 Televisions, the LG Defendants failed to use the amount of care that a reasonably
                 27 careful designer, manufacturer, and supplier would use in similar circumstances to
    Mitchell     28 avoid exposing others to a foreseeable risk of damages from the deficient LG
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                  1 Televisions. Plaintiff is informed and believes, and on that basis alleges, that the
                  2 LG Defendants knew or should have known about the likelihood and severity of
                  3 potential damages Plaintiff would suffer from the deficient LG Televisions.
                  4         108. Plaintiff has been damaged, in the manner described herein and in an
                  5 amount to be proven at trial. The LG Defendants’ negligence was a substantial
                  6 factor in causing and contributed substantially to Plaintiff’s damages.
                  7
                  8                            NINTH CAUSE OF ACTION
                  9    (Violation of California’s Unfair Competition Law, Cal. Bus. & Prof. Code
                 10                    §§ 17200 et seq. – Against the EI Defendants)
                 11         109. Plaintiff incorporates the allegations of paragraphs 1-63 above.
                 12         110. The acts and practices engaged in by the EI Defendants, as described
                 13 herein, constitute unlawful and/or unfair business practices in that:
                 14               A.     the EI Defendants marketed the Quadriga Services as suitable
                 15                      for use as part of hotels’ Interactive Entertainment Systems,
                 16                      when they are not suitable for that purpose;
                 17               B.     the EI Defendants marketed the Quadriga Services as
                 18                      compatible with the LG Televisions, when they are not; and
                 19               C.     the EI Defendants represented that the Quadriga Services are
                 20                      suitable for use with the LG Televisions as part of the
                 21                      Interactive Entertainment System for In-Room Entertainment
                 22                      for the Huntley Hotel, when the Quadriga Services are not
                 23                      suitable for that purpose.
                 24         111. Any justification for the EI Defendants’ conduct is outweighed by the
                 25 gravity of the consequences to Plaintiff and other purchasers of the Quadriga
                 26 Services.
                 27
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                  1         112. The EI Defendants’ conduct is unlawful, immoral, unethical,
                  2 oppressive, unscrupulous, and/or substantially injurious to Plaintiff and other
                  3 purchasers of the Quadriga Services.
                  4         113. Plaintiff has suffered harm as a result of the EI Defendants’ actions
                  5 because, without limitation, Plaintiff was misled into believing that it was
                  6 purchasing services that were consistent with the EI Defendants’ representations.
                  7 Plaintiff has suffered injury in fact and has lost money or property as a result of the
                  8 EI Defendants’ unfair competition, in the manner alleged herein.
                  9         114. By reason of the EI Defendants’ violation of Cal. Bus. & Prof. Code §
                 10 17200 et seq., Plaintiff is entitled to recover restitution, injunctive relief, and such
                 11 other relief as provided by law. Plaintiff has no adequate remedy at law.
                 12
                 13                             TENTH CAUSE OF ACTION
                 14     (Violation of California’s Unfair Competition Law, Cal. Bus. & Prof. Code
                 15                     §§ 17200 et seq. – Against the LG Defendants)
                 16         115. Plaintiff incorporates the allegations of paragraphs 1-63 above.
                 17         116. The acts and practices engaged in by the LG Defendants, as described
                 18 herein, constitute unlawful and/or unfair business practices in that:
                 19                A.     the LG Defendants marketed the LG Televisions, including but
                 20                       not limited to the Integrated Pro:Idiom Technology therein, as
                 21                       “hospitality televisions” suitable for use as hotel IPTVs, when
                 22                       they are not suitable for that purpose;
                 23                B.     the LG Defendants represented that the LG Televisions,
                 24                       including but not limited to the Integrated Pro:Idiom
                 25                       Technology therein, are suitable for use as part of the
                 26                       Interactive Entertainment System for In-Room Entertainment
                 27                       for the Huntley Hotel, when the LG Televisions are not suitable
    Mitchell     28                       for that purpose; and
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                  1                C.     the LG Defendants marketed the LG Televisions, including but
                  2                       not limited to the Integrated Pro:Idiom Technology therein, as
                  3                       compatible with the Quadriga Services, when they are not.
                  4         117. Any justification for the LG Defendants’ conduct is outweighed by
                  5 the gravity of the consequences to Plaintiff and other purchasers of the LG
                  6 Televisions.
                  7         118. The LG Defendants’ conduct is unlawful, immoral, unethical,
                  8 oppressive, unscrupulous, and/or substantially injurious to Plaintiff and other
                  9 purchasers of the LG Televisions.
                 10         119. Plaintiff has suffered harm as a result of the LG Defendants’ actions
                 11 because, without limitation, Plaintiff was misled into believing that it was buying
                 12 IPTVs and Integrated Pro:Idiom Technology that was consistent with the LG
                 13 Defendants’ representations. Plaintiff has suffered injury in fact and has lost
                 14 money or property as a result of the LG Defendants’ unfair competition, in the
                 15 manner alleged herein.
                 16         120. By reason of the LG Defendants’ violation of Cal. Bus. & Prof. Code
                 17 § 17200 et seq., Plaintiff is entitled to recover restitution, injunctive relief, and
                 18 such other relief as provided by law. Plaintiff has no adequate remedy at law.
                 19
                 20                           ELEVENTH CAUSE OF ACTION
                 21             (Negligent Misrepresentation – Against The EI Defendants)
                 22         121. Plaintiff incorporates the allegations of paragraphs 1-63 and 65-70
                 23 above.
                 24         122. The EI Defendants made the misrepresentations alleged herein.
                 25 Plaintiff is informed and believes, and on that basis alleges that, at the time the EI
                 26 Defendants made the misrepresentations alleged herein, they had no reasonable
                 27 basis for believing those representations to be true.
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                  1          123. The EI Defendants made the misrepresentations alleged herein for the
                  2 purpose of inducing Plaintiff to purchase the Quadriga Services.
                  3          124. Plaintiff actually and justifiably relied on the EI Defendants’
                  4 misrepresentations as alleged herein in entering into the Huntley-Quadriga
                  5 Agreement, submitting the various purchase orders under that contract, and paying
                  6 for the Quadriga Services.
                  7          125. As a result of the EI Defendants’ negligent misrepresentations,
                  8 Plaintiff has sustained damages as alleged herein, and in an amount to be proven at
                  9 trial.
                 10
                 11                           TWELFTH CAUSE OF ACTION
                 12             (Negligent Misrepresentation – Against The LG Defendants)
                 13          126. Plaintiff incorporates the allegations of paragraphs 1-63 and 72-77
                 14 above.
                 15          127. The LG Defendants made the important misrepresentations alleged
                 16 herein. Plaintiff is informed and believes, and on that basis alleges that, at the time
                 17 the LG Defendants made the misrepresentations alleged herein, they had no
                 18 reasonable basis for believing those representations to be true.
                 19          128. The LG Defendants made the misrepresentations alleged herein for
                 20 the purpose of inducing Plaintiff to purchase the LG Televisions.
                 21          129. Plaintiff actually and justifiably relied on the LG Defendants’
                 22 misrepresentations as alleged herein in entering into the Huntley-LG Agreement,
                 23 submitting the various purchase orders under that contract, and paying for the LG
                 24 Televisions and Set-Top Boxes.
                 25          130. As a result of the LG Defendants’ negligent misrepresentations,
                 26 Plaintiff has sustained damages as alleged herein, and in an amount to be proven at
                 27 trial.
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                  1                                PRAYER FOR RELIEF
                  2         WHEREFORE, Plaintiff prays that this Court enter judgment in its favor
                  3 on each and every claim for relief set forth above, and for relief as follows:
                  4         1.     An order declaring that the Huntley-Quadriga Agreement is rescinded
                  5 and ordering restitution of all consideration granted under the Huntley-Quadriga
                  6 Agreement;
                  7         2.     An order declaring that the Huntley-LG Agreement is rescinded and
                  8 ordering restitution of all consideration granted under the Huntley-LG Agreement
                  9 or any purchase order fulfilled thereunder;
                 10         3.     A preliminary and permanent injunction enjoining the EI Defendants,
                 11 their officers, employees, agents, subsidiaries, representatives, distributors, dealers,
                 12 members, affiliates, and all persons acting in concert or participation with them
                 13 from: (a) marketing the Quadriga Services as suitable for use as part of hotels’
                 14 Interactive Entertainment Systems for In-Room Entertainment, (b) representing
                 15 that the Quadriga Services are suitable for use with the LG Televisions as part of
                 16 hotels’ Interactive Entertainment Systems for In-Room Entertainment, or (c)
                 17 marketing the Quadriga Services as compatible with the LG Televisions.
                 18         4.     A preliminary and permanent injunction enjoining the LG Defendants,
                 19 their officers, employees, agents, subsidiaries, representatives, distributors, dealers,
                 20 members, affiliates, and all persons acting in concert or participation with them
                 21 from: (a) marketing the LG Televisions as “hospitality televisions” suitable for use
                 22 as hotel IPTVs, (b) representing that the LG Televisions are suitable for use as part
                 23 of hotels’ Interactive Entertainment Systems for In-Room Entertainment, or (c)
                 24 marketing the LG Televisions as compatible with the Quadriga Services.
                 25         5.     Monetary relief, including direct and consequential damages sustained
                 26 by Plaintiff in an amount to be determined by the trier of fact;
                 27         6.     Prejudgment interest as allowed by law;
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                  1        7.   Attorneys’ fees and costs as allowed by any applicable law or
                  2 contract; and
                  3        8.   For such other and further relief as may be just and proper.
                  4
                  5 DATED: August 8, 2016               MITCHELL SILBERBERG & KNUPP LLP
                                                        JEFFREY L. RICHARDSON
                  6                                     ANDREW SPITSER
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                  8                                     By: /s/ Andrew C. Spitser
                  9                                         Andrew C. Spitser
                                                            Attorneys for Plaintiff
                 10                                         Second Street Corporation

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                  1                                  JURY DEMAND
                  2
                  3        Plaintiff Second Street Corporation hereby demands a trial by jury on all
                  4 matters and issues so triable.
                  5
                  6 DATED: August 8, 2016                MITCHELL SILBERBERG & KNUPP LLP
                                                         JEFFREY L. RICHARDSON
                  7                                      ANDREW SPITSER

                  8
                  9                                      By:    /s/ Andrew C. Spitser
                                                                Andrew C. Spitser
                 10                                             Attorneys for Plaintiff
                                                                Second Street Corporation
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